Case 2:13-cv-07231-GHK-RZ Document 1 Filed 09/30/13 Page 1 of 16 Page ID #:9
                                                                 Case 2:13-cv-07231-GHK-RZ Document 1 Filed 09/30/13 Page 2 of 16 Page ID #:10




                                                                  1                                          PARTIES
                                                                  2         2.     Plaintiff is and at all times herein mentioned was a California citizen
                                                                  3   residing in Sherman Oaks, Los Angeles County, California.
                                                                  4         3.     Defendant Joshua R. Bronstein (“Bronstein”) is an individual licensed
                                                                  5   by the State of New York to practice law and practicing at One Old Country Road,
                                                                  6   Suite LL5, Carle Place, New York 11514.
                                                                  7         4.     Defendant Daniels Norelli Scully & Cecere, P.C. (“DNSC”) is a law
                                                                  8   firm, including Bronstein, located One Old Country Road, Suite LL5, Carle Place,
                                                                  9   New York 11514.
                                                                 10         5.     Defendant CACH, LLC (“CACH”) is and at all times relevant herein
                                                                 11   was a Colorado limited liability company.
                            Los Angeles, California 90064-4436




                                                                 12         6.     Unless otherwise required by the context of the allegation, references to
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                                                                 13   Defendant(s) includes their parents, subsidiaries, affiliates, divisions, predecessors,
                                                                 14   successors, assigns, administrators, associates, alter egos, joint ventures, joint
                                                                 15   venturers, related or affiliated entities, partners, franchisors, franchisees, owners,
                                                                 16   managers, contractors, agents, servants, employees, assistants, and/or consultants.
                                                                 17         7.     The true names and capacities, whether individual, corporate, associate
                                                                 18   or otherwise, of Defendants Does 1 through 10 are unknown to Plaintiff, who
                                                                 19   therefore sues Defendants by fictitious names and will amend this Complaint to
                                                                 20   show their true names and capacities when ascertained.
                                                                 21         8.     Each of the Doe Defendants is responsible in some manner for the
                                                                 22   injuries, damages, and/or violations herein alleged.
                                                                 23         9.     Each Defendant was the agent, servant, employee, assistant and/or
                                                                 24   consultant of the other, and was acting within the course, scope, and authority of
                                                                 25   said positions.
                                                                 26         10.    Each Defendant, when acting as the agent of another Defendant, carried
                                                                 27   out a joint scheme, business plan or policy in all respects pertinent hereto, making
                                                                 28   the acts of each Defendant, when acting as the agent of another Defendant, legally
                                                                                                             PAGE 2 OF 10

                                                                                                             COMPLAINT
                                                                 Case 2:13-cv-07231-GHK-RZ Document 1 Filed 09/30/13 Page 3 of 16 Page ID #:11




                                                                  1   attributable to the other Defendant.
                                                                  2          11.     Each Defendant, when acting as a principal, caused, knew of, and/or
                                                                  3   should have known of the wrongful actions of each and every one of its agents,
                                                                  4   servants, employees, assistants, and/or consultants.
                                                                  5          12.     Each Defendant, when acting as a principal, ratified the wrongful
                                                                  6   actions of each and every one of its agents, servants, employees, assistants, and/or
                                                                  7   consultants.
                                                                  8
                                                                  9                               JURISDICTION AND VENUE
                                                                 10          13.     This court has federal question jurisdiction pursuant to 15 U.S.C. §
                                                                 11   1692k, subdivision (d), and 28 U.S.C. § 1331.
                            Los Angeles, California 90064-4436




                                                                 12          14.     Venue is proper in this District pursuant to 28 U.S.C. § 1391,
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                                                                 13   subdivision (b), as the acts and transactions that give rise to this action occurred, in
                                                                 14   substantial part, in this District.
                                                                 15          15.     Venue is also proper in this District because the Plaintiff resides in this
                                                                 16   district and the Defendants transact business in this district.
                                                                 17
                                                                 18                                 GENERAL ALLEGATIONS
                                                                 19          16.     Section 809 of the FDCPA (15 U.S.C. § 1692g) concerns the validation
                                                                 20   of debts.
                                                                 21          17.     Under Section 809, a debtor wishing to collect on a debt must – either
                                                                 22   in the initial communication or within five days thereafter – provide the alleged
                                                                 23   debtor with all of the following written information:
                                                                 24                  a.    “the amount of the debt” (15 U.S.C. § 1692g, subd. (a)(1));
                                                                 25                  b.    “the name of the creditor to whom the debt is owed” (15 U.S.C. §
                                                                 26          1692g, subd. (a)(2));
                                                                 27                  c.    “a statement that unless the consumer, within thirty days after
                                                                 28          receipt of the notice, disputes the validity of the debt, or any portion thereof,
                                                                                                              PAGE 3 OF 10

                                                                                                               COMPLAINT
                                                                 Case 2:13-cv-07231-GHK-RZ Document 1 Filed 09/30/13 Page 4 of 16 Page ID #:12




                                                                  1         the debt will be assumed to be valid by the debt collector” (15 U.S.C. §
                                                                  2         1692g, subd. (a)(3));
                                                                  3                d.     “a statement that if the consumer notifies the debt collector in
                                                                  4         writing within the thirty-day period that the debt, or any portion thereof, is
                                                                  5         disputed, the debt collector will obtain verification of the debt or a copy of a
                                                                  6         judgment against the consumer and a copy of such verification or judgment
                                                                  7         will be mailed to the consumer by the debt collector” (15 U.S.C. § 1692g,
                                                                  8         subd. (a)(4)); and
                                                                  9                e.     “a statement that, upon the consumer’s written request within the
                                                                 10         thirty-day period, the debt collector will provide the consumer with the name
                                                                 11         and address of the original creditor, if different from the current creditor” (15
                            Los Angeles, California 90064-4436




                                                                 12         U.S.C. § 1692g, subd. (a)(5)).
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                                                                 13         18.    Each of Defendants Bronstein, DNSC, and CACH is a “debt collector”
                                                                 14   as defined by 15 U.S.C. § 1692a, subdivision (6).
                                                                 15         19.    The debt that Defendants sought to collect from Plaintiff is a consumer
                                                                 16   debt, as defined by 15 U.S.C. § 1692a, subdivision (5).
                                                                 17         20.    The alleged debt was purchased, assigned, or transferred to Defendants
                                                                 18   for collection from Plaintiff.
                                                                 19         21.    Defendants attempted to collect this debt from Plaintiff, which was a
                                                                 20   “communication” as defined by 15 U.S.C. § 1692a, subdivision (2).
                                                                 21         22.    Defendants’ communication took the form of the letter that is Exhibit A
                                                                 22   hereto, emailed to Plaintiff in Van Nuys, California.
                                                                 23   \\\
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                                                                                                             PAGE 4 OF 10

                                                                                                             COMPLAINT
                                                                 Case 2:13-cv-07231-GHK-RZ Document 1 Filed 09/30/13 Page 5 of 16 Page ID #:13




                                                                  1                           CLASS ACTION ALLEGATIONS
                                                                  2         23.    Plaintiff brings this case as a class action pursuant to Federal Rules of
                                                                  3   Civil Procedure, Rule 23(a) and (b)(3), on behalf of himself and all others similarly
                                                                  4   situated.
                                                                  5         24.    Definition. The class is defined as:
                                                                  6         All consumers to whom, within one year prior to filing this action, any
                                                                  7         Defendant sent a collection letter which – either in the initial
                                                                  8         communication or within five days thereafter – DID NOT contain one
                                                                  9         or more of the following written statements:
                                                                 10                a.    Unless the consumer, within 30 days after receipt of the
                                                                 11         notice, disputes the validity of the debt, or any portion thereof, the debt
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                                                                 12         will be assumed to be valid by the debt collector;
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                                                                 13                b.    Unless the consumer notifies the debt collector in writing
                                                                 14         within the 30-day period that the debt, or any portion thereof, is
                                                                 15         disputed, the debt collector will obtain verification of the debt or a copy
                                                                 16         of a judgment against the consumer and a copy of such verification or
                                                                 17         judgment will be mailed to the consumer by the debt collector; and
                                                                 18                c.    Upon the consumer’s written request within the 30-day
                                                                 19         period, the debt collector will provide the consumer with the name and
                                                                 20         address of the original creditor, if different from the current creditor.
                                                                 21         25.    Numerosity. Because collection letters tend to be form letters which are
                                                                 22   used repeatedly, Plaintiff believes and alleges that the class is so numerous that
                                                                 23   joinder of all members is impractical. Although the exact number and identities of
                                                                 24   class members are unknown at this time and can only be ascertained through
                                                                 25   appropriate discovery, Plaintiff believes that there are hundreds if not thousands of
                                                                 26   such consumers.
                                                                 27         26.    Ascertainability. The identification of the consumers who received the
                                                                 28   letters (i.e., the class members) is a matter capable of ministerial determination from
                                                                                                            PAGE 5 OF 10

                                                                                                             COMPLAINT
                                                                 Case 2:13-cv-07231-GHK-RZ Document 1 Filed 09/30/13 Page 6 of 16 Page ID #:14




                                                                  1   Defendants’ records.
                                                                  2         27.    Commonality (fact). Common questions of fact predominate over any
                                                                  3   questions affecting only individual class members. Among the common questions
                                                                  4   of fact are whether Defendants sent collection letters to consumers that – either in
                                                                  5   the initial communication or within five days thereafter – DID NOT contain:
                                                                  6                a.     “a statement that unless the consumer, within thirty days
                                                                  7         after receipt of the notice, disputes the validity of the debt, or any
                                                                  8         portion thereof, the debt will be assumed to be valid by the debt
                                                                  9         collector” as required by 15 U.S.C. § 1692g, subd. (a)(3));
                                                                 10                b.     “a statement that if the consumer notifies the debt collector
                                                                 11         in writing within the thirty-day period that the debt, or any portion
                            Los Angeles, California 90064-4436




                                                                 12         thereof, is disputed, the debt collector will obtain verification of the
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                                                                 13         debt or a copy of a judgment against the consumer and a copy of such
                                                                 14         verification or judgment will be mailed to the consumer by the debt
                                                                 15         collector” (§ 1692g, subd. (a)(4)); and
                                                                 16                c.     “a statement that, upon the consumer’s written request
                                                                 17         within the thirty-day period, the debt collector will provide the
                                                                 18         consumer with the name and address of the original creditor, if different
                                                                 19         from the current creditor” (§ 1692g, subd. (a)(5)).
                                                                 20         28.    Commonality (law). Common questions of law predominate over any
                                                                 21   questions affecting only individual class members. Among the common questions
                                                                 22   of law are whether Defendants violated the FDCPA and are liable thereunder for
                                                                 23   failure to provide – either in the initial communication or within five days thereafter:
                                                                 24                a.     “a statement that unless the consumer, within thirty days
                                                                 25         after receipt of the notice, disputes the validity of the debt, or any
                                                                 26         portion thereof, the debt will be assumed to be valid by the debt
                                                                 27         collector” as required by 15 U.S.C. § 1692g, subd. (a)(3));
                                                                 28                b.     “a statement that if the consumer notifies the debt collector
                                                                                                            PAGE 6 OF 10

                                                                                                             COMPLAINT
                                                                 Case 2:13-cv-07231-GHK-RZ Document 1 Filed 09/30/13 Page 7 of 16 Page ID #:15




                                                                  1         in writing within the thirty-day period that the debt, or any portion
                                                                  2         thereof, is disputed, the debt collector will obtain verification of the
                                                                  3         debt or a copy of a judgment against the consumer and a copy of such
                                                                  4         verification or judgment will be mailed to the consumer by the debt
                                                                  5         collector” (§ 1692g, subd. (a)(4)); and
                                                                  6                c.     “a statement that, upon the consumer’s written request
                                                                  7         within the thirty-day period, the debt collector will provide the
                                                                  8         consumer with the name and address of the original creditor, if different
                                                                  9         from the current creditor” (§ 1692g, subd. (a)(5)).
                                                                 10         29.    Typicality. Plaintiff’s claims are typical of the Class insofar as he and
                                                                 11   all class members received letters lacking the information required by Section 809 of
                            Los Angeles, California 90064-4436




                                                                 12   the FDCPA.
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                                                                 13         30.    Adequacy of Representation. Plaintiff will fairly and adequately
                                                                 14   represent the class members’ interests, all of whom are victims of the Defendants
                                                                 15   unlawful conduct. Furthermore, Plaintiff has retained counsel experienced in
                                                                 16   prosecuting class actions and knowledgeable in collection law.
                                                                 17         31.    Predominance and Superiority. Defendants’ apparent use of form
                                                                 18   letters and standardized practices lend themselves to common proof of omission of
                                                                 19   information required by FDCPA Section 809 and the legal ramifications thereof. A
                                                                 20   class action is superior to other available methods for the fair and efficient
                                                                 21   adjudication of the controversy under Fed. R. Civ. P. 23(b)(3). Furthermore,
                                                                 22   Congress specifically envisioned class actions as a principle means of enforcing the
                                                                 23   FDCPA because, absent a class action, most members of the class would find the
                                                                 24   cost of litigating these claims to be prohibitive and would have no effective remedy
                                                                 25   at law; therefore, absent a class action, and Defendants would violate the FDCPA
                                                                 26   with impunity and class members’ rights would not be vindicated. Class treatment
                                                                 27   of common questions is also superior to multiple individual actions or piecemeal
                                                                 28   litigation in that it conserves the resources of the court and the litigants and
                                                                                                             PAGE 7 OF 10

                                                                                                             COMPLAINT
                                                                 Case 2:13-cv-07231-GHK-RZ Document 1 Filed 09/30/13 Page 8 of 16 Page ID #:16




                                                                  1   promotes consistency and efficiency of adjudication.
                                                                  2
                                                                  3                                           COUNT I
                                                                  4                          Improper Notice under 15 U.S.C. § 1692g
                                                                  5                                   (Against All Defendants)
                                                                  6          32.      Plaintiff incorporates by reference paragraphs 2-30 as though fully set
                                                                  7   forth herein.
                                                                  8          33.      Defendant’ letter (Exhibit A hereto) unlawfully failed to provide the
                                                                  9   statements required by Section 809 of the FDCPA (15 U.S.C. § 1692g, subds. (a)(3)-
                                                                 10   (a)(5)).
                                                                 11          34.      As a result of the above violations of the FDCPA, Defendants, and each
                            Los Angeles, California 90064-4436




                                                                 12   of them, are liable to Plaintiff for declaratory judgment that Defendants’ conduct
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                                                                 13   violated the FDCPA and for damages, costs, and attorney’s fees.
                                                                 14
                                                                 15                                   PRAYER FOR RELIEF
                                                                 16   WHEREFORE, Plaintiff prays that judgment be entered against each Defendant:
                                                                 17          1.       For the named Plaintiff, statutory damages of $1,000.00 (15 U.S.C. §
                                                                 18   1692k, subd. (a)(2)(B)(i));
                                                                 19          2.       For all other Class Members, statutory damages of the lessor of the
                                                                 20   lesser of $500,000 or 1 per centum of the net worth of the debt collector (15 U.S.C.
                                                                 21   § 1692k, subd. (a)(2)(B)(ii);
                                                                 22          3.       Costs of litigation and reasonable attorneys’ fees (15 U.S.C. § 1692k,
                                                                 23   subd. (a)(3)); and
                                                                 24          4.       Such other and further relief as may be just and proper.
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                                                                                                              PAGE 8 OF 10

                                                                                                               COMPLAINT
Case 2:13-cv-07231-GHK-RZ Document 1 Filed 09/30/13 Page 9 of 16 Page ID #:17
Case 2:13-cv-07231-GHK-RZ Document 1 Filed 09/30/13 Page 10 of 16 Page ID #:18




            Exhibit "A"
Case 2:13-cv-07231-GHK-RZ Document 1 Filed 09/30/13 Page 11 of 16 Page ID #:19
Case 2:13-cv-07231-GHK-RZ Document 1 Filed 09/30/13 Page 12 of 16 Page ID #:20
Case 2:13-cv-07231-GHK-RZ Document 1 Filed 09/30/13 Page 13 of 16 Page ID #:21
Case 2:13-cv-07231-GHK-RZ Document 1 Filed 09/30/13 Page 14 of 16 Page ID #:22
Case 2:13-cv-07231-GHK-RZ Document 1 Filed 09/30/13 Page 15 of 16 Page ID #:23
Case 2:13-cv-07231-GHK-RZ Document 1 Filed 09/30/13 Page 16 of 16 Page ID #:24
